Case 1:22-cv-01861-NLH-AMD Document 14-4 Filed 06/10/22 Page 1 of 1 PageID: 155




                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF NEW JERSEY
  ---------------------------------------------------------- X
  TIFFANEE GOULD, individually and on                        : Case No. 1:22-cv-01861-NLH-AMD
  behalf of her minor son, A.J., et al.,                     :
                                                             :
                                      Plaintiffs,            :
                                                             : CERTIFICATE OF SERVICE
                    v.                                       :
                                                             :
  THE GUIDA-SEIBERT DAIRY COMPANY, :                           Motion Date: July 5, 2022
  et al.,                                                    :
                                                             :
                                      Defendants.            :
  ---------------------------------------------------------- X

         I, Philip A. Goldstein, hereby certify that on this 10th day of June, 2022, I caused the

 foregoing documents:

         1)     Notice of Motion for Admission Pro Hac Vice of James F. Neale;

         2)     Certification of Local Counsel in Support of Motion for Admission Pro Hac Vice
                of James F. Neale;

         3)     Certification of James F. Neale in Support of Motion for Admission Pro Hac Vice;
                and

         4)     (Proposed) Order Authorizing Pro Hac Vice Admission for James F. Neale

 to be filed electronically with the Clerk of Court via the Court’s CM/ECF system. Counsel of

 record are registered CM/ECF users and will be served by the CM/ECF system.


 Dated: New York, New York
        June 10, 2022                            /s/ Philip A. Goldstein
                                                 Philip A. Goldstein
                                                 MCGUIREWOODS LLP
                                                 1251 Avenue of the Americas, 20th Floor
                                                 New York, New York 10020
                                                 Telephone: (212) 548-2167
                                                 pagoldstein@mcguirewoods.com

                                                 Counsel for Defendant The Guida-Seibert Dairy
                                                 Company
 160188554
